Case 2:23-cr-00212-SPL   Document 167   Filed 08/05/24   Page 1 of 13

                                                     FILED            RECEIVED


                                                    Aug 5, 2024
                                                     CLERK U.S. DISTRICT COURT
                                                        DISTRICT OF ARIZONA
Case 2:23-cr-00212-SPL   Document 167   Filed 08/05/24   Page 2 of 13
Case 2:23-cr-00212-SPL   Document 167   Filed 08/05/24   Page 3 of 13
Case 2:23-cr-00212-SPL   Document 167   Filed 08/05/24   Page 4 of 13
Case 2:23-cr-00212-SPL   Document 167   Filed 08/05/24   Page 5 of 13
Case 2:23-cr-00212-SPL   Document 167   Filed 08/05/24   Page 6 of 13
Case 2:23-cr-00212-SPL   Document 167   Filed 08/05/24   Page 7 of 13
Case 2:23-cr-00212-SPL   Document 167   Filed 08/05/24   Page 8 of 13
Case 2:23-cr-00212-SPL   Document 167   Filed 08/05/24   Page 9 of 13
Case 2:23-cr-00212-SPL   Document 167   Filed 08/05/24   Page 10 of 13
Case 2:23-cr-00212-SPL   Document 167   Filed 08/05/24   Page 11 of 13
Case 2:23-cr-00212-SPL   Document 167   Filed 08/05/24   Page 12 of 13
Case 2:23-cr-00212-SPL   Document 167   Filed 08/05/24         Page 13 of 13




                                                 Digitally signed by Ryan
                                                 McCarthy
                                                 Date: 2024.07.31
                                          22:08:42 -07'00'




   8/5/2024
